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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                              OWENSBORO DIVISION
                            CASE NO. 4:17-CV-00128-JHM

JANE COLLINS                                                                       PLAINTIFF

VS.
                            AGREED ORDER OF DISMISSAL


DAVIESS COUNTY BOARD OF EDUCATION                                                  DEFENDANT

       The parties, having resolved this matter in its entirety, and the Court being otherwise

sufficiently advised;

       IT IS HEREBY ORDERED:
       (i)     That the above-styled action, to include all claims asserted therein or that could
               have been asserted therein, is DISMISSED WITH PREJUDICE; and
       (ii)    That the parties to the above-styled action shall be responsible for their respective
               legal fees, expenses and costs incurred in the prosecution and defense of the action.
       This is a final Order with no just cause for delay.
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HAVE REVIEWED THE FOREGOING AGREED ORDER OF DISMISSAL AND AGREED
TO SAME:


/s/ Mauricus R. Lofton, (with permission)
Mauricus R. Lofton
Counsel for the Plaintiff

/s/ W. Cravens Priest III
Michael A. Owsley
W. Cravens Priest III
Counsel for Defendant


Clerk, upon entry send copies to:

Mauricus R. Loften (___)
W. Cravens Priest III (___)


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